          Case 1:20-cr-00317-LTS Document 23
                                          24 Filed 10/31/20
                                                   11/02/20 Page 1 of 1
                                          U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      October 31, 2020

By ECF

The Honorable Laura Taylor Swain
United States District Judge                                      MEMO ENDORSED
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, NY 10007

   Re:     United States v. James Mayo and Jonathan Smith, 20 CR 317 (LTS)

Dear Judge Swain,

        On behalf of the parties, the Government respectfully writes to request an adjournment of
the conference scheduled for November 6, 2020 to a date and time of convenience to the Court
during the week of December 7, 2020 or as soon as possible thereafter. The parties are available
to conduct the conference at any time during that week of December 7, 2020 with the exception of
December 8, 2020. The Government understands from counsel to the defendants that additional
time is necessary for them to review discovery with their clients and discuss a possible pre-trial
disposition. Finally, with the consent of the defendants, the Government also respectfully requests
that the Court exclude time under the Speedy Trial Act from today through the date of any granted
adjournment of the conference pursuant to 18 U.S.C. § 3161(h)(7) on the basis that the interests of
the defendants and the public in a speedy trial are outweighed here by the ends of justice served
by allowing the defendants to receive and review additional discovery and consider further the
possibility of a pre-trial disposition, particularly amidst the circumstances of the ongoing national
emergency declared in response to the coronavirus pandemic.

                                           Respectfully submitted,
The foregoing adjournment and exclusion
requests are granted, for the reasons      AUDREY STRAUSS
stated above. The conference is            Acting United States Attorney
adjourned to December 7, 2020, at 9:00
a.m. DE#23 resolved.
SO ORDERED.                            By:
11/02/2020                                 Thomas John Wright
/s/ Laura Taylor Swain, USDJ               Assistant United States Attorney
                                           (212) 637-2295

cc: Christopher Flood (Counsel to Defendant James Mayo) (by ECF)
    Robert Radick (Counsel to Defendant Jonathan Smith) (by ECF)
